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                                                                        of 3
                                                                                            Nov 18, 2022
 1 PHILLIP A. TALBERT
                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                       EASTERN DISTRICT OF CALIFORNIA

   United States Attorney
 2 JUSTIN J. GILIO
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:20-CR-00019

12                                Plaintiff,

13                          v.

14   ADRIAN LOPEZ,

15                               Defendant.

16

17                               SUPERSEDING                INFORMATION

18 COUNT ONE: [Title 21 U.S.C § 856(a)(1) – Maintaining drug-involved premises]

19          The United States Attorney charges: T H A T
20                                             ADRIAN LOPEZ,
21 defendant herein, between on or about August 6, 2019, and continuing through on or about January 16,

22 2020, in the County of Tulare, State and Eastern District of California, did knowingly and intentionally

23 maintain, own, and use a place, specifically, 8174 S. Porter Avenue, Reedley, California and 25142 E.

24 Lincoln Ave., Orange Cove, California, for the purpose of manufacturing marijuana, a Schedule I

25 controlled substance, in violation of Title 21, United States Code, Section 856(a)(1).

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      INFORMATION                                       1
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 1 FORFEITURE ALLEGATION: [21 U.S.C. § 853(a) – Criminal Forfeiture]

 2          1.      Upon conviction of the offense alleged in this Superseding Information, defendant

 3 ADRIAN LOPEZ shall forfeit to the United States, pursuant to Title 21, United States Code, Section

 4 853(a), any property constituting or derived from proceeds obtained, directly or indirectly, as a result of

 5 such offenses, and any property used, or intended to be used, in any manner or part, to commit, or to

 6 facilitate the commission of the offenses, including, but not limited to:

 7                  (a)     Real property located at 25142 E. Lincoln Avenue, Orange Cove, California,

 8                          Fresno County, APN: 373-040-59, and,

 9                  (b)     Real property located at 8174 Porter Avenue, Reedley, California, Fresno County,

10                          APN: 373-100-12.

11          2.      If any property subject to forfeiture, as a result of the offenses alleged in this Superseding

12 Information, for which the defendant is convicted:

13                  (a)     cannot be located upon the exercise of due diligence;

14                  (b)     has been transferred or sold to, or deposited with, a third party;

15                  (c)     has been placed beyond the jurisdiction of the Court;

16                  (d)     has been substantially diminished in value; or

17                  (e)     has been commingled with other property which cannot be subdivided without

18                          difficulty;

19 it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to seek

20 forfeiture of any other property of the defendant, up to the value of the property subject to forfeiture.
21    Dated: 11/18/22                                         PHILLIP A. TALBERT
                                                              United States Attorney
22

23                                                     By:
                                                              JUSTIN J. GILIO
24                                                            Assistant United States Attorney
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                               United States v. ADRIAN LOPEZ
                                   Penalties for Information


COUNT 1:

VIOLATION:        21 U.S.C. § 856(a)(1) - Maintaining a Premise to Manufacture a Controlled Substance

PENALTIES:        A maximum of up to 20 years in prison; or
                  Fine of up to $500,000; or both fine and imprisonment
                  Supervised release of 3 years

SPECIAL ASSESSMENT: $100 (mandatory on each count)
